
LittletoN, Judge (Bet.),
dissenting in part:
I disagree with the court’s application of the doctrine of res judicata to plaintiffs Clark and Pullman. It is true, as the majority observes, that in their prior suits it was obligatory for them to advance severy reason they ever wished to advance to support the claims presented in those suits. But the instant suit is not based on another reason for those claims; it is based on a separate claim.
*478In their prior suits, plaintiffs sought increased retired pay-in their enlisted man status, under Sanders v. United States, 120 Ct. Cl. 501. In this suit, they seek the retired pay of warrant officer status, to which the majority agree that they are entitled. This is not merely another reason for what they sought in the prior case; they are now presenting a different claim. A decision rendered upon one claim is not res judicata as to a different claim. See also dissent in Amsden (case of McCarthy) v. United States, this day decided post, pp. 479, 480.
Even if the majority is correct in saying that the same claims are involved, this suit is not barred by res judicata because the prior case was, as the majority says, based on a compromise of the issues there raised. Abarr v. United States, 139 Ct. Cl. 748, compels the conclusion that where a prior stipulated judgment is based on a compromise, and no court has put its mind, or been asked to put its mind, on the legal merits of the claims involved, the reasons for the doctrine of res judicata are not present and the doctrine should not be applied.
